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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                             No. 2:20-CR-20148-SHL-tmp

KATRINA ROBINSON

        Defendant.


 DEFENDANT’S PROPOSED JURY INSTRUCTIONS FOR DISMISSAL OF CERTAIN
                     CHARGES DURING TRIAL


        Katrina Robinson, by and through her counsel, respectfully submits this Proposed Jury

Instruction for Dismissal of Certain Charges During Trial:

     (1) At the beginning of the trial, I told you that the defendant was accused of 20 different
         crimes: four counts of stealing, embezzling, knowingly converting, obtaining by fraud and
         intentionally misapplying property from an organization that receives federal funds, and
         sixteen counts of wire fraud. Since the trial started, however, I have dismissed the following
         crimes:

        -   The Court has dismissed Counts 1 through 4, which include all of the crimes involving
            stealing, embezzling, knowingly converting, obtaining by fraud, and intentionally
            misapplying property from an organization that receives federal funds.
        -   The Court has also dismissed Counts 5-10, which were wire fraud counts.
        -   Finally, the Court has dismissed Counts 13-17, which were also wire fraud counts.

     (2) You are instructed that you should not guess about or concern yourselves with the reason
         for these counts being dismissed.

     (3) You are also instructed that you are not to assume that the remaining counts are meritorious
         or have been proven against the defendant. The Government still has the burden of proof
         to prove the remaining counts beyond a reasonable doubt. In deciding on the remaining
         counts, you are hereby instructed not to consider any of the evidence concerning counts
         that are not longer before you.
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  (4) I have stricken the testimony of the following witnesses, and I am instructing you not to
      consider the testimony of the following witnesses:
      - Cesar Herrera
      - Michael Yarbrough
      - Nancy Alea
      - Frank Cannata
      - Cynthia Sipp
      - Antoine Beane
      - Daniel Foster
      - Diana Jones
      - Marcus Vance
      - Lauren Stamps
      - Steve Edwards
      - Woodson Farmer
      - Lance Black
      - Jack Gardner
      - Imran Ahmed Siddiqui
      - Stephen Lies
      - Brent Hayden

  (5) I have stricken all of the testimony of Victoria Howell with the exception of the portions
      of her testimony related to the two expenditures contained in Counts 11 and 12. I am
      instructing you not to consider any of the other testimony from Ms. Howell except those
      portions.

  (6) I have stricken the following exhibits from the record. I am instructing you not to consider
      them in reaching your decision in this case:
      - Exhibit 21- Lowe’s Records
      - Exhibit 22- Grizzlies Records
      - Exhibit 23- Paypal Records
      - Exhibit 24- Paypal Records
      - Exhibit 25- Makin It Happen Home Records
      - Exhibit 26- American Airlines records
      - Exhibit 27- Photos
      - Exhibit 29- Methodist FCU Records
      - Exhibit 32- Gossett Motors Records
      - Exhibit 33- Lexus of Memphis Records
      - Exhibit 34- Bill of Sale from Imports of Memphis
      - Exhibit 35- Gardner & Group Records
      - Exhibit 36- Tuscan Iron Entries Records
      - Exhibit 37- Photos
      - Exhibit 39- ADT Records
      - Exhibit 40- Ally Financial Records
      - Exhibit 41- Amazon Records
      - Exhibit 42- Pershing LLC Records
      - Exhibit 43- Best Buy Records
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     -   Exhibit 44- Bookit.com Records
     -   Exhibit 45- Carnival Cruise Lines Records
     -   Exhibit 46- Floor n Décor Records
     -   Exhibit 48- Great Lakes Student Loans Records
     -   Exhibit 49- Home Depot Records
     -   Exhibit 51- MLGW Records
     -   Exhibit 52- MMIC Records
     -   Exhibit 53- One Main Financial Records
     -   Exhibit 54- Shelby County Tax Sale Records
     -   Exhibit 55- Slim Spa Records
     -   Exhibit 56- Southern Snow Records
     -   Exhibit 57- Surplus Warehouse Records
     -   Exhibit 58- Tennessee Secretary of State Records
     -   Exhibit 59- TPC Southwind Records
     -   Exhibit 60- Uber Records
     -   Exhibit 61- BSHR, PLLC
     -   Exhibit 63- Summary of Personal Expenditures
     -   Exhibit 64- Chart- Paypal Summary
     -   Exhibit 65- Royston Phots


                                             Respectfully submitted:

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                                             Attorneys for Defendant Katrina Robinson
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                           CERTIFICATE OF CONSULTATION

        I hereby certify that on September 27, 2021, I consulted with the Government on this
proposed instruction. The Government’s response was: “We absolutely object to your proposed
jury instruction. The instruction prepared by the Court is appropriate. Thanks.”

                                                           s/L. Mathew Jehl
                                                           L. Mathew Jehl


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2021, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will operate to provide notice of this filing to all
counsel of record in this case.


                                                           s/L. Mathew Jehl
                                                           L. Mathew Jehl
